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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Latoya Christmas
                                  Plaintiff,
v.                                                    Case No.: 1:14−cv−10366
                                                      Honorable Joan B. Gottschall
Rent Recover LLC, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 17, 2015:


        MINUTE entry before the Honorable Joan B. Gottschall: Pursuant to the parties'
stipulation of dismissal, this case is dismissed with leave to reinstate by 5/5/15. If no
motion to reinstate is filed, the dismissal will automatically convert to a dismissal with
prejudice on this date. Motion hearing set for 3/18/15 is stricken. Civil case terminated.
Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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